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                                       No. 23-2204
                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        WILLIAM D. GLOVER, LINDA K. GLOVER, his wife, RICHARD A.
        GLOVER, CHRISTY L. GLOVER, his wife; GOSHORN RIDGE, LLC,
        Individually, and on Behalf of All Others Similarly Situated,
                                                                           Plaintiffs-Appellees

                                                v.

        EQT CORPORATION, a Pennsylvania corporation, EQT PRODUCTION
        COMPANY, a Pennsylvania corporation, EQT ENERGY, LLC, a Delaware
        limited liability company,
                                                                     Defendants-Appellants



                                           On Appeal
         from the United States District Court for the Northern District of West Virginia,
                                  No. 5:19-cv-223 (Bailey, J.)


                   REPLY BRIEF OF DEFENDANTS-APPELLANTS
                 EQT CORPORATION, EQT PRODUCTION COMPANY,
                            AND EQT ENERGY, LLC


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                                        INTRODUCTION

              This Court should reverse the district court’s certification order based on four

        fundamental class certification requirements: (1) a district court must perform a

        “rigorous analysis” before certifying a class under Wal-Mart Stores, Inc. v. Dukes,

        564 U.S. 338 (2011); (2) plaintiffs must affirmatively prove that class certification

        is appropriate; (3) there must be common answers to questions that will materially

        advance the litigation; and (4) claims must be capable of resolution on a classwide

        basis because of commonality, typicality, and predominance.

              Instead of reckoning with these requirements, the Response Brief of Appellees

        (the “Response”) tries to mask the district court’s failure to conduct a rigorous

        analysis of Rule 23’s requirements by simply pointing to conclusory statements in

        the certification order itself. It is not enough simply to recite conclusory findings

        from the district court’s order and then conclude that the requirements of Rule 23

        are met. Appellees must demonstrate specifically how their claims fit within Rule

        23. Here, they cannot and do not.

                                            ARGUMENT

        I.    There Is No “Common Royalty Obligation” in the Over 3,700 Class
              Leases, and Lease Differences Prove a Lack of Commonality and
              Predominance.

              The district court certified Appellees’ breach of contract claim, in which

        Appellees allege that EQT underpaid NGL royalties due under the Class Leases.

        Appellees’ argument in defense of certification rests entirely on the notion that EQT
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        owes a “common royalty obligation” under more than 3,700 Class Leases.

        According to Appellees, EQT was required to pay NGL royalties based on the gross

        sales price received from a downstream unaffiliated1 third-party sale for refined

        NGL products, “irrespective of lease language[.]” Response at 2.

              Without ever specifically addressing Class Lease Language, the district court

        strictly construed each Class Lease against EQT and summarily ruled that the Class

        Leases “required royalties to be paid on third party sales[,]” somehow transforming

        countless variations in express lease language into one uniform implied obligation

        to pay NGL royalties as Appellees demand. Response at 23-24; see JA4297. The

        district court also never discussed Class Lease language regarding the deduction of

        post-production costs but designated two subclasses based on whether the Class

        Leases “do not provide for any post production deductions” or “do provide for post

        production deductions, but do not meet the requirements of Tawney[.]” JA4430. And

        thus, EQT is said to have a “common royalty obligation” under each of the over

        3,700 Class Leases, irrespective of lease language.2


        1
               Appellees spend much time arguing that affiliate transactions are never
        permitted. Response at 15-19. Not only are Appellees incorrect as to the state of the
        law in West Virginia, see Opening Brief of Appellants (“Brief”) at 38-39, Appellees
        conveniently ignore Class Lease language that expressly contemplates affiliate
        transactions. See JA6853-JA6855 (forms BBB3, C15, G, G-1, PPPP, Y_C15, U-27,
        and Y); see also id. (forms C15, C1.5A, C1.5B, C2, C5, I, and C1, which refer to a
        “bona fide third-party purchaser”).
        2
               Both the district court and Appellees ignore important provisions in the Class
        Leases that are fatal to class certification, including notice and cure provisions.
                                                -2-
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              A.     The Class Leases Are Not Uniform.

              Appellees acknowledge that the Class includes more than 3,700 leases, which

        Appellees inexplicably state have been divided into seventy categories, “which have

        been further grouped into thirty-three equivalent categories of royalty provisions”

        but actually “fall into two categories: ‘proceeds’ or ‘market value.’” Response at 19.

        However, the evidence is clear that the Class Leases are far from uniform. The Class

        includes thousands of individual leases with thousands of lessors. The Class Leases

        were entered into at different times. Some were negotiated and drafted by EQT more



        Specifically, as to the notice and cure provision in the Glover Lease and notice
        provisions in other Class Leases, Appellees do not pretend to have analyzed whether
        each lease in the Class contains a notice provision, waving the issue off as irrelevant
        because the vague notice provided by the Glovers—after they filed the underlying
        lawsuit—was sufficient to provide pre-suit notice on behalf of the entire Class.
        Response at 36-37; JA0120-JA0121.
               In a last-ditch effort to sell this argument, Appellees claim that “EQT has not
        identified any notice of default provision” in any other Class Lease that is “materially
        different from the notice of default provision in the Glover Lease.” Response at 37.
        Again, Appellees misstate the facts. EQT provided a summary of different notice
        and cure provisions in the Class Leases in Exhibit 20 to Defendants’ Response in
        Opposition to Plaintiffs’ Motion for Class Certification. The notice provisions in the
        Class Leases contain materially different terms with different specificity
        requirements for notice and the time for EQT to cure. See, e.g., JA4023-JA4024.
        Some leases require the lessor to provide written notice by registered mail; other
        leases do not. Id. The notice provisions also vary in terms of the time allowed for
        EQT to cure any alleged default, ranging between ten and ninety days. Id.
        Importantly, none of the notice provisions in the Class Leases say that the required
        notice may be provided to EQT after a lawsuit is filed, which is what the Glovers
        did here. If the district court had analyzed the effect of the contractual notice
        provisions in the Glover Lease and other Class Leases, it would have concluded that
        differences in notice requirements are individual issues that make certification
        inappropriate.
                                                  -3-
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        than a decade ago. Some were negotiated and drafted by other operators and recently

        acquired by EQT. See Brief at 7-9. Despite Appellees’ misleading lease chart, the

        Class Leases are not of a certain form, nor do the leases fall within discernable

        categories.3 Indeed, many “categories” include only one or two leases, negating

        Appellees’ contentions that these are “form” leases.4 The leases are different

        contracts, made at different times, with different people.

              One example of a material variation in the Class Leases is the basis of

        valuation (i.e., pricing) and the point of valuation for royalties, which, as

        demonstrated below, varies significantly in the leases:5

                  RRR: “field market price for …gas”

                  BB1: “proceeds of all natural gas liquids”

                  N1: “proceeds […] actually received by the working interest owner”

                  LL1: “market price for […] gas […] sold off the premises [and



        3
               One of many examples of this is form N, which purportedly requires royalties
        based on “proceeds” meaning “the sums actually received by the working interest
        owners of the well […] from the purchaser […] of Oil and Gas at the wellhead[,]”
        but some individual leases within this category cap royalties, while others expressly
        reference NGLs but do not require a separate NGL royalty, and still others separately
        reference “gas and gaseous substances” and all of the leases expressly disclaim the
        application of implied covenants. Notably, forms N2, N2.5, and N3 also contain
        variations of the above. See JA6923-JA6924.
        4
               See JA6853-JA6855 (forms BB, BB1, BBB3, C5, DD1, F, I, II3, III, III1, J,
        N2A, PPPP (4), S5, TT1, TT Variant, TT5, LL, XXX, KK, U-27, L1.75B).
        5
               The list is not comprehensive; there are additional variations in pricing in
        other Class Lease forms.
                                                 -4-
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                   marketed] in Hope Natural Gas Company pipe line”

                 TT1: “if measured and sold at the well […] price received by the

                   Lessee” or “if not sold at the well, then at the time gas is first marketed

                   from each well […] the royalty price for such well shall be established

                   as [%] of the wellhead price then being paid by Lessee to producers in

                   the general producing area of the leased premises for like gas from the

                   same geological formation”

                 UU: “value at the well of the gas […], the product from which is

                   marketed and used off the premises, said gas to be measured at a meter

                   set on the farm”

                 Y: “market price at the well shall not exceed the amount realized by

                   Lessee for such gas computed at the well. Payment for royalties in

                   accordance herewith shall constitute full compensation for the gas and

                   all of its components.”

                 BBB3: “market value” “at the specified location and by reference to the

                   gross heating value [measured in BTU] and quality of the gas”

                 KK1: “wholesale market value which is based on the average current

                   price paid by the Lessee to independent operators in this general area,

                   computed at a 10 ounce pressure basis above 14.7 lbs. atmospheric

                   pressure.”

                                                -5-
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                   YY1 and YY: “wholesale market value [of gas] at the well based on the

                     usual price paid therefor in the general locality of the leased premises”

                   A and A1: various individual leases contain different variations

                     including “gross sales price” for “Oil and Gas” versus “market value as

                     herein described at the wellhead” for “gas and gaseous substances.”

                   AAA: requires “wellhead price” for “gas marketed and used off the

                     premises” but also on “the field market price paid at the wellhead by

                     the principal utility company operating in the general area of the leased

                     premises for gas of like kind and quality, and on the same basis that

                     such utility company would pay for such gas, including any escalation

                     in price that such utility company would pay for such gas if a contract

                     for the sale of the same had been entered into at the time of initial

                     production” for any gas that the lessee does not sell “to others[.]”6

        Additionally, other Class Leases evidence that the parties negotiated revisions to the

        point of valuation.7

              Other variations ultimately destroy Appellees’ “uniform” damages



        6
              JA6853-JA6855; JA6909-JA6935.
        7
              See JA6855 (form C5 requires royalties on “gross production at the
        wellhead”); JA6921 (some form L1.75 leases require royalties be based on
        “comparable arm’s length sales in terms of quality and quantity and in closest
        proximity to the leased premises”); JA6854 (form BBB3 requires royalties on
        market value of gas or processed liquids “at the inlet to the processing plant”).
                                                 -6-
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        calculation methodology, to the extent that the leases expressly allow for the

        deduction of post-production costs8 or taxes9 or otherwise contain express terms that

        make Appellees’ damages model impossible to uniformly apply to all class

        members.10 Contrary to Appellees’ unsupported argument in the Response that

        variations relating to “well quality or value location” only affect “the amount of

        royalty,” these variations destroy commonality and predominance.11


        8
               See JA6853-JA6855 (forms G, G-1, PPPP); JA4430-JA4431 (all Subclass B
        in the Clarifying Order). See also JA6853-JA6855 (forms KK1, L1.5, P1, PPPP,
        RRR, S1, TT1, WW, and S, none of which are “at the well” leases).
        9
               See JA6853-JA6855 and JA6910-JA6935 (forms A, A1, AAA, C15, C2, DD1,
        G, G1, J, N2A, V, Y_C15, N, N2, N2.5, N3, PPPP).
        10
               For example, forms BB1, C5, II(1), N2A, S1, and S require individualized
        analysis regarding when and where certain hydrocarbons become marketable; N2A
        and S1 tie deductions to marketability; S1 caps royalties; and C1.5B disclaims any
        payments before December 1, 2013. JA6910- JA6935. Notably, if any costs or taxes
        may be deducted or if any unique pricing, caps, or other payment analysis must take
        place, Appellee’s purported uniform damages calculation methodology is
        immediately rendered unworkable. This is in addition to the issues raised by EQT’s
        expert, Lesa Adair, regarding individualized issues related to gas quality for each
        well, the flow paths of the gas, processing plants’ differing efficiency levels, bypass
        and storage practices, sold volumes, and costs, including used gas, which will vary
        over time and for each owner, and not only goes to damages, but also to the
        interpretation and EQT’s compliance with class leases, defeating predominance and
        precluding class certification. JA4974-JA4976. Nor does it include the fact that the
        deduction of any NGL related costs may ultimately mean that individual class
        members may be harmed by Appellees’ claims. JA3936; JA4757.
        11
               Appellees argue that these “other textual variations” in the leases do not
        preclude certification, but the only “evidence” cited by Appellees in support is the
        district court’s conclusory finding that “there are few if any differences as claimed
        by EQT.” Response at 10 (quoting district court’s certification order). Notably, the
        district court does not identify the “few” differences in lease language or otherwise
        explain or analyze why these differences did not “negate EQT’s common royalty
        obligation” in either of its certification orders.
                                                 -7-
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              B.     The District Court Cannot Ignore Class Lease Language.

              Normally, these many variations in lease language would be fatal to class

        certification—a court cannot certify a contract claim based on materially different

        contracts. See Broussard v. Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 340

        (4th Cir. 1998) (plaintiff must show defendant has same contractual obligation to

        every member of the class to satisfy Rule 23 requirements for certification of breach

        of contract claim). Appellees know this. That is why at the district court, Appellees



                Nonetheless, for each of the wells and leases in the Class, the following
        individualized evidence, at minimum, would be required: (1) Does the Class Lease
        contain NGL royalty language? (2) Does the Class Lease contain any other language
        about NGLs or plant products? (3) Does the Class Lease require pre-suit notice? If
        so, what is the time-period for EQT to cure any alleged default? (4) Does the Class
        Lease contain language allocating post-production costs? (5) Does the Class Lease
        prohibit affiliate transactions? (6) Does the Class Lease define “gas” or other
        produced hydrocarbons? (7) What is the point of valuation (e.g., at the well, at the
        point of sale, at the interconnection of the interstate pipeline, etc.) of the gas royalty?
        (8) Does the Class Lease include a provision waiving implied duties and/or the
        implied duty to market? (9) Does the Class Lease contain a provision with an express
        duty to market? (10) Did the NGL content of the gas produced under the Class Lease
        exceed 4.9 GPM in each month of production from 2010 to January 1, 2021? (11)
        Does the owner of the Class Lease own an interest in any well(s) that was part of the
        prior class litigation settlement in Kay Co.? (12) Has ownership in the well remained
        the same since EQT acquired it? (13) How are any gaps in ownership of the well
        from the time EQT acquired the Class Lease to January 1, 2021 going to be resolved?
        (14) Is the Class Lease “Tawney-compliant”? (15) Is the Class Lease a “dekatherm”
        lease? (16) What is the basis of valuation (e.g., gross proceeds, market value, amount
        realized, etc.) of the gas royalty? (17) Did the owner(s) have individual
        communications with EQT about their royalty payments? (18) Did the owner(s) have
        individual communications with an attorney(s) about their lease and/or royalty
        payments? (19) Did the owner(s) review and rely on their royalty remittance
        statements? (20) Did the owner(s) receive notice of class settlement in the prior class
        litigation Kay Co. that explained how EQT calculated and paid NGL royalties?
                                                   -8-
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        argued that Class Leases are “ambiguous” so the district court would “interpret” all

        3,700 leases with one broad stroke. Now realizing their blunder in light of Kellam’s

        directives, Appellees change course and argue that unidentified “plain and

        unambiguous language” in every Class Lease imposes a “common royalty

        obligation” to pay NGL royalties in the particular manner demanded by Appellees.

        See Response at 19 (“[T]he Class Leases impose a common royalty obligation on

        EQT to pay NGL royalties based upon the proceeds received from the sale of NGLs

        to third parties in an arm’s length transaction.”).

              The Response postures, on the one hand, that the district court did not “hav[e]

        to resort to an individualized lease examination,” yet, on the other hand, that the

        “plain and unambiguous” Class Lease language requires the NGL royalty payments

        they demand. Response at 12, 19. Regardless, neither the district court nor Appellees

        identify what “plain and unambiguous” Class Lease language is contained in every

        Class Lease that purportedly imposes a common obligation on EQT to separately

        pay royalties based on a gross downstream third-party sales price for refined NGL

        products.

              Where, as here, the underlying contracts contain materially different terms, a

        class cannot be certified. “[P]laintiffs simply cannot advance a single collective

        breach of contract on the basis of multiple different contracts.” Broussard, 155 F.3d

        at 340. Appellees had the burden of proving that all the Class Leases require NGL


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        royalties to be paid the same way and, more specifically, the way demanded by

        Appellees. Although Appellees asked for and received all the leases in discovery,

        they made no attempt to show all the leases impose the same obligation12 to pay

        NGL royalties.

              Notably, as explained in Appellants’ Brief, Appellees’ theory of uniform

        interpretation necessarily depends, either explicitly or implicitly, on the existence of

        an implied duty to market. Brief at 12, 23-26. To determine whether the requirements

        of Rule 23 are met, the Court must consider the merits of Appellees’ claim of an


        12
               Appellees’ lease chart is riddled with errors. By way of example, Appellees
        claim in the Response that they removed all leases from the Class that require
        payment on a BTU basis. Response at 36. That is not true. Multiple lease forms
        provide for payment of royalties on gas on a BTU or dekatherm basis. See, e.g.,
        JA6919 (form JJ: royalties due on “natural gas and natural gas constituents” based
        on “the first of the month index price for natural gas applicable to the first interstate
        pipeline into which the natural gas is delivered”); JA6920 (form L1: royalties due
        on “market value of oil and gas (as defined in dekatherms ((1,000 btu per mcf)) at
        the wellhead”); JA6921 (form L1.5: royalties due on “market value of oil and gas
        (as defined in dekatherms ((1,000 btu per mcf))).
               Other categories, including all of TT Variant, XXX, and KK are entirely
        excluded because the leases included in those categories were all amended to
        expressly excluded royalty language. Others like Q, R, TT5, Y1.75A, Y1.25, V1,
        LL, OOO, C4, and CA are excluded in their entirety because those leases all contain
        arbitration or venue clauses. See JA6853- JA6855.
               Appellees argue that EQT has never put forth arguments regarding individual
        lease language and the basis for Defendants’ position that it properly paid NGL
        royalties. See Response at 19. Again, this is not true. Appellees moved the district
        court to compel EQT to review the leases and prepare a comprehensive lease review
        chart for Class Counsel, which contains argument regarding each of Plaintiffs’ lease
        categories (and others that Plaintiffs ultimately removed from the class). See
        JA6910-JA6935. Defendants’ Class Lease Language List, JA6910-JA6935, is much
        more accurate and comprehensive than Plaintiffs’ List, JA6853-JA6855.
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        implied duty to market. Broussard, 155 F.3d at 340. Not only do Appellees place the

        merits of the implied duty to market in issue when they try to use Wellman and

        Tawney to avoid the individual lease analysis that would bar certification of their

        breach of contract claim, see Response at 15-16, the district court specifically cited

        case law on the implied duty of marketability as the basis for certifying the breach

        of contract claim. See, e.g., JA4297-JA4298 (citing Naylor Farms, Inc. v. Chaparral

        Energy, LLC, No. Civ-11-0634-HE, 2017 WL 187542 (W.D. Okla. Jan. 17, 2017)

        as support for certification of breach of contract claim).

              However, the implied duty to market provides no basis for certification of

        contract claims where, as here, the leases (1) expressly waive/negate the existence

        of implied duties, including the implied duty to market,13 (2) include contractual

        provisions expressly addressing pricing or the point of valuation or the allocation of

        post-production costs such that “the implied covenant of marketability is clearly

        inapplicable,”14 and/or (3) depend upon statutory construction to determine the


        13
               See, e.g., JA5068-JA5071 (EQT’s expert, Kris Terry, discusses Class Lease
        forms that contain market enhancement clauses and waivers of implied duty to
        market); JA6855 (form KK provides “[t]he time and method of marketing gas
        produced from any well or wells on the leased premises . . . and the amount thereof
        that shall be used or marketed within any period of time shall be entirely at the
        discretion of the Lessee”). The Glover Lease also expressly “waives any implied
        covenant to drill, prevent drainage, further develop or market production during the
        Primary Term that maybe imposed on Lessee.” JA0715.
        14
               See supra at 4-6; see also SWN Prod. Co. v. Kellam, 875 S.E.2d 216, 226 (W.
        Va. 2022); EQT Prod. Co. v. Adair, 764 F.3d 347, 367 (4th Cir. 2014) (noting that
        “an express lease term—e.g., authorizing a particular postproduction charge—
                                                 -11-
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        royalty owed.15

                 Appellees assert that the district court did not “hav[e] to resort to an

        individualized lease examination,” Response at 12, but certainly the district court

        was required to analyze the breach of contract claim it was certifying. The district

        court’s certification order fails to analyze or even discuss how any of the claims for

        breach of contract could be tried on a classwide basis.

                 Appellees rely on and cite to Justice Hutchison’s concurring opinion in

        Kellam, virtually ignoring the majority opinion and its directives regarding lease

        interpretation. Appellees’ repeated citations to the concurrence, without

        qualification or reservation, are not only misleading but also unhelpful to Appellees,

        as Kellam makes clear that the district court erred in ignoring lease language

        generally and in certifying subclasses with “Tawney-compliant” limitations, which

        compel the individualized lease review that Appellees have desperately tried to

        avoid.

                 Appellees do not, and cannot, cite any case that stands for the proposition that

        when interpreting a contract, the court may entirely disregard the language of that

        contract. Indeed, Kellam generally directs that, in interpreting oil and gas lease



        supersedes any implied duty under the rule”).
        15
              See, e.g., JA6855 (form U-27). “[T]he implied covenant to market does not
        append itself to statutes[.]” Kellam, 875 S.E.2d at 224 (quoting Leggett v. EQT Prod.
        Co., 800 S.E.2d 850, 861 (W. Va. 2017)).
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        provisions, the court must look to the individual lease at issue and other relevant

        evidence. 875 S.E.2d at 226. Analysis as to “whether a lease is ‘particular’ enough

        in listing the costs to be deducted will necessarily be different with regard to each

        contract[,]” as the question “is tied directly to the specific language of the lease and,

        if ambiguous, the parties’ intent in contracting.” Id. at 228. Thus, even assuming

        arguendo that the Class Leases are ambiguous,16 the Court must consider extrinsic

        evidence to determine the intent of the parties. Intention of contracting parties is a

        question of fact, and “[i]f there is more than one permissible inference as to intent to

        be drawn from the language employed, the question of the parties’ actual intention

        is a triable issue of fact.” Bear Brand Hosiery Co. v. Tights, Inc., 605 F.2d 723, 726


        16
              Recognizing that ambiguity in the Class Leases is fatal to certification of their
        breach of contract claim, Appellees claim that they “have never admitted the class
        leases are ambiguous.” Response at 22. This is not true. Appellees moved for
        summary judgment on class lease language based entirely on their contention that
        the Class Leases are ambiguous and require extrinsic evidence. Indeed, Plaintiffs
        represented to the district court: (1) “[T]here is no clear and unambiguous language
        in any Class Lease” about the meaning of the term “sale”; (2) “There is no clear and
        unambiguous language in any of the Proceeds Class Leases” that prohibits affiliate
        transactions; (3) “Any royalty provision relating to proceeds received from the sale
        of NGLs ‘at the well’ or ‘at the wellhead’ is also ambiguous”; (4) “[T]he market
        value Class Leases are ambiguous. . . . EQT’s conduct [further] renders these leases
        ambiguous”; (5) “Class lease categories A, L1.75, NN, UU, UU3 Variant, YY, II(1)
        Variant, II(2), II(2) A Variant and N2A Variant are also ambiguous in their use of
        the phrases ‘at the wellhead’”; (6) The phrase “market value” in Class Lease
        categories KK and KK1 “is ambiguous too”; (7) Lease categories N, N2, N3, and
        N2.5 are “ambiguous because they state that the ‘proceeds’ shall not include any
        sums deducted by said purchaser or purchasers”; and (8) Lease category C1 is
        “conflicting and ambiguous regarding deductions from royalties on NGLs[.]”
        JA4588- JA4597.
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        (4th Cir. 1979); see also Cram v. Sun Ins. Office, Ltd., 375 F.2d 670, 674 (4th Cir.

        1967) (“[T]he intent of the parties to an ambiguous contract is a question of fact[.]”).

              Accordingly, regardless of Appellees’ flip-flop about whether the “plain

        language” of the leases requires a higher royalty or whether the leases are

        ambiguous, Appellees cannot avoid the fact that leases must be examined on an

        individual basis, taking the entire contract into account. Either the Class Leases are

        not ambiguous and each and every lease must be examined to determine the royalty

        required by its “plain language” or the Class Leases are ambiguous and each and

        every lease must be examined to determine the parties’ intent, based on the

        individual lease language and potentially other extrinsic evidence. Under no

        circumstance can individual lease language be ignored.

              Here, there is no commonality given the differences in the operative

        provisions of the Class Leases and there is no common implied duty of marketability

        under the Class Leases. Neither Appellees in the Response nor the district court in

        certifying the Class engaged in any substantive analysis of the lease terms, much

        less the express disclaimers of implied duties in many of the leases, to determine

        whether language variations destroy the possibility of resolving the alleged common

        question of breach on a classwide basis.

              Appellees’ breach of contract claims cannot be tried under theoretical

        obligations under West Virginia “oil and gas law,” as they contend in the Response.


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        The claims must be tried on the negotiated terms contained in the individual Class

        Leases. The Response fails to provide any justification for Appellees’ persistent

        ignorance of the language in the Class Leases that plainly defeats their breach of

        contract claim. All other issues aside, Appellees’ failure to prove that each Class

        Lease imposes the same obligation to pay NGL royalties in the manner demanded

        by Appellees precludes class certification of the breach of contract claim. Adair, 764

        F.3d at 367 (“It [i]s the plaintiffs’ burden to demonstrate commonality on the implied

        duty of marketability. . . . Yet they have made no attempt to do so.”).

              C.     A Uniform Payment Methodology Is Not Uniform Breach of
                     Contract.

              As expected, Appellees also try to avoid the problem of lease variation by

        arguing that EQT employed a “uniform payment method” for NGL royalties.

        Response at 3. According to Appellees, this “uniform methodology” is more

        important than “textual variations in the class leases.” Id. at 10. Appellees equate

        “uniform payment method” to uniform breach of contract, arguing that they are

        somehow relieved of their burden to prove that each Class Lease was breached.

        Appellees do not cite any legal authority to support their contention that lease

        language does not matter because there is no such case. Appellees contend that EQT

        owed a “common royalty obligation” based on the “plain and unambiguous

        language” of the Class Leases, but they failed to identify language in any Class

        Leases that allegedly imposes a uniform obligation on EQT to calculate and pay

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        NGL royalties as Appellees demand.

              As explained in Appellants’ Brief, this Court has previously explained that a

        common royalty payment method is not enough to satisfy the requirements for class

        certification where there is varying lease language – common practices do not result

        in common liability when differing contractual language is at issue. See Adair, 764

        F.3d at 367; Brief at 29-35. Appellees’ reliance on an alleged uniform payment

        methodology to avoid review of the 3,700 individual Class Leases and prove breach

        of contract in one fell swoop is simply a red herring.

        II.   The Class Has Not Been and Cannot Be Ascertained.

              Appellees admit that they have not ascertained and cannot ascertain the Class,

        but nonetheless, argue that the Class is ascertainable because the district court

        ordered EQT to review county land records to ascertain it. Response at 39-40. The

        Response ignores the district court’s clear error in ordering EQT to create records to

        try to ascertain the Class for Class Counsel. Appellees apparently fail to understand

        that it was their burden—not EQT’s burden—to prove that the district court “can

        readily identify the class members in reference to objective criteria.” Adair, 764 F.3d

        at 358.

              Appellees do not even attempt to explain in the Response how the district

        court will determine Class membership, including how the court will resolve gaps

        in lease ownership over time, much less did Appellees put forth any evidence to


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        support that making these determinations is administratively feasible.17 In fact, the

        record evidence proves that it is not administratively feasible using EQT’s records.

        See generally JA0532-JA0535; JA4481-JA4483. EQT submitted evidence that

        determining ownership of the Class Leases over time is “a manual process that

        requires cross-referencing multiple records and conducting independent research.”

        JA0534. The process to connect each royalty payment to a specific well to a specific

        lease to a specific owner from 2012 to date—which is what the magistrate judge

        ordered EQT to do—requires step-by-step research on an individualized owner-by-

        owner basis that is extremely time-consuming and expensive. JA0533-JA0535;

        JA4482-JA4483. Not only this, but EQT cannot perform this work using only its

        own records, as it acquired many of the leases and wells at issue from other operators

        and, therefore, must necessarily resort to review of county land records to create the

        linkage requested by Appellees. JA4483; JA0534.

              Appellees flatly ignore the record in arguing that none of the complicating

        factors in determining ownership over time in Adair exist in this case. Response at



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               Appellees submitted an alleged “damages model” with the Response from
        their expert Donald Phend that only provides further proof that the Class is not
        ascertainable. In his original report, Mr. Phend says that he is “unable to determine
        (for many payment items) whether that payment is in the class or excluded from the
        class.” ATT0016. But, according to Mr. Phend, the problem will be resolved when
        “EQT provides this [additional linking] information[.]” Id. In his Supplemental
        Report, Mr. Phend admits that he still cannot calculate “Category II Payments” until
        EQT provides the so-called “linking information.” ATT0022.
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        43. But just like in Adair, “ownership of the gas estate has not been static” since

        EQT acquired each Class Lease. 764 F.3d at 359. Some of the records “have not

        been updated to account for changes in ownership.” Id. The district court, here, also

        “largely glossed over this problem,” id., but the court went one step further than the

        district court in Adair and ordered EQT to reference local land records and update

        its records to account for changes in ownership in violation of the federal rules.18 To

        be sure, ordering EQT to ascertain the Class for Appellees did nothing to resolve the

        same complications that posed a significant administrative barrier to ascertaining the

        Class in Adair in this case, including “heirship, intestacy, and title-defect issues

        [that] plague many of the potential class members’ claims[.]” Id.

              In the Response, Appellees also try to gloss over the impact of prior class

        litigation on ascertainability. All members of the class litigation settlement in Kay

        Co. are excluded from the Class, but Appellees offer no reliable means to identify

        which of the owners and leases in the Class are excluded because of their

        involvement in the Kay Co. settlement. See Brief at 46-47. While EQT identified the

        class wells that were included in the settlement and removed data related to those

        wells from the accounting data and other datasets, no one has performed the manual

        process of identifying owners who were Kay Co. settlement participants and,


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               Appellees moved to compel EQT to ascertain the Class because, contrary to
        Appellees’ argument in the Response, all Class members cannot be “reliably
        identified from EQT’s own business records.” Response at 39.
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        therefore excluded from the Class, but whose other leases, wells, and data are still

        included in the datasets in this case, including the accounting data upon which

        Appellees’ expert relies. Again, Appellees suggest it is EQT’s burden to identify the

        leases, owners, and wells that were included in the Kay Co. settlement and, thus, are

        excluded from the Class, but that is not the law. It was Appellees’ burden to ascertain

        the Class and, as demonstrated by their Response, they fell woefully short.

        III.   Certification of the Fraudulent Concealment Claim Must Be Reversed.

               Contrary to logic and any reasonable interpretation of the law, Appellees

        refuse to concede the certification of their meritless and time-barred fraud claim.

        Appellees intentionally fail to mention in the Response that the district court

        dismissed the fraud claims of the named Class Representatives, the Glovers and

        Goshorn Ridge, on summary judgment. In dismissing Appellees’ fraud claims, the

        district court held that the claims are barred by the statute of limitations and fail on

        the merits. More specifically, the court found that Appellees “failed to adduce

        evidence of reliance, causation and damages” to support a claim for fraud against

        EQT. See JA4449; JA4469.

               Each element of each cause of action asserted by Appellees must be provable

        through evidence that is common to the class. In re Hydrogen Peroxide Antitrust

        Litig., 552 F.3d 305, 311-12 (3d Cir. 2008) (plaintiff must demonstrate each element

        is “capable of proof at trial through evidence that is common to the class rather than


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        individual to its members”). Appellees were required but failed to demonstrate that

        each element of their fraud claim is provable through evidence.

               Appellees lack all credibility—failing to discuss or even mention the district

        court’s summary judgment on their fraud claim in the Response. Because Appellees

        cannot prove the elements of causation, reliance, and damages for their own clients,

        which require “individualized proof,” they undoubtedly cannot prove the elements

        of the certified fraud claim on behalf of the Class either. Adair, 764 F.3d at 369-70

        (noting the “individualized nature” of “course of performance evidence,” including

        lessor’s individual communications with EQT about royalty payments).

        Accordingly, certification of Appellees’ fraud claim must be reversed.

                                            CONCLUSION

               For the above reasons, EQT respectfully requests that this Court reverse the

        district court’s class certification order.




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        Dated: February 28, 2024

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                             CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limits because, excluding the parts

        of the document exempted by Rule 32(f) of the Federal Rules of Appellate

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        in Times New Roman, 14-point font.



                                                                    /s/ Lauren W. Varnado




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                                   CERTIFICATE OF SERVICE

              This is to certify that on February 28, 2024, I have electronically filed the

        foregoing Reply Brief of Defendants-Appellants EQT Corporation, EQT Production

        Company, and EQT Energy, LLC with the Clerk of Court using the CM/ECF system,

        and I have emailed a true and correct copy of the Reply Brief and all supporting

        documents to counsel listed below to the following recipients:

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